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                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA


 DEBORAH A. GAUDET, ET AL.                                 CIVIL ACTION
 Individually and on Behalf of a Class of All
 Other Similarly Situated Persons                          NO. 19-cv-10356


 VERSUS                                                    JUDGE WENDY B. VITTER

                                                           MAGISTRATE JANIS VAN
                                                           MEERVELD
 HOWARD L. NATIONS, APC, ET AL.

                                                           DEMAND FOR JURY
                                                           TRIAL




                      THIRD AMENDED CLASS ACTION COMPLAINT


       NOW INTO COURT, through undersigned counsel, come Plaintiffs, DEBORAH A.

GAUDET, TIMOTHY BUTLER, DIAN B. CAMPBELL, KRISTINE COLLINS, REGINA

FALGOUST, ABRAHAM GAMBERELLA, ADAM J. HEBERT, FRED LEDET,

STANWOOD MOORE, JR., and JAMES SCALES, III, individually and on behalf of all others

similarly situated, who, in compliance with this Court’s October 16, 2020 Order and Reasons [Doc.

234], desire to amend the Second Amended Class Action Complaint [Doc. 99] filed into the record

on November 20, 2019 by replacing the entirety of that Second Amended Class Action Complaint

to read as follows:

                                      INTRODUCTION

       On April 20, 2010, a catastrophic oil spill (“BP Oil Spill”) occurred in the Gulf of Mexico

when the Deepwater Horizon sank, resulting in damages and losses to individuals, businesses, and


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governmental entities in certain coastal states, namely, Louisiana, Mississippi, Alabama, Florida,

and Texas. Subsequently, multiple class action lawsuits were filed, and eventually consolidated

into multidistrict litigation, which was assigned to Judge Carl Barbier in the Eastern District of

Louisiana. Ultimately the matter was resolved by settlement and the Court approved the Deepwater

Horizon Economic and Property Damages Settlement Agreement (“BP Settlement Agreement”),

which was intended and designed to provide recovery for a broad class of claimants by providing

monetary compensation for the losses sustained as a result of the BP Oil Spill. See In Re: Oil Spill

by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL 2179

(Document 6430).

       The BP Settlement Agreement established the Economic and Property Damages Settlement

Class (“BP Class”), which included persons and entities located in geographically defined areas in

Florida, Alabama, Mississippi, Louisiana, and Texas. It also established the Deepwater Horizon

Economic and Property Damages Settlement Program (“BP Settlement Program”), in which BP

Class members could participate by filing for their losses caused by the BP Oil Spill (“BP

Claims”). The BP Claims were processed by the Deepwater Horizon Economic Claims Center

(“DHECC”). Specifically, the BP Settlement Agreement provided for affected persons to make

claims for subsistence losses (“Subsistence Claims”) caused by the closing of Gulf Coast fishing

areas due to contamination from the BP Oil Spill.

       Plaintiffs were among many people who resided along the Gulf Coast who harvested fish

and seafood in the coastal area for their regular dietary consumption. Since coastal areas were

closed due to the BP Oil Spill, Plaintiffs were unable to catch and harvest seafood.

       After the settlement was approved and during the BP claims period, Plaintiffs were advised

that out-of-state lawyers were hosting meetings in various locations. The meetings were scheduled



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and designed by Defendants, who had formed a joint venture “to jointly prosecute Deepwater

Horizon Economic and Property Settlement Subsistence Claims.” This joint venture was formed

by Nations Law Firm, Rueb & Motta, PLC, the Nicks Law Firm and Shantrell Nicks individually.

As part of their joint venture, Defendants used the meetings to solicit clients in order to file

Subsistence Claims in the BP Settlement Program on behalf of the clients they had engaged.

       Each named Defendant personally participated in the joint venture and each assisted in

establishing and/or overseeing the meeting locations. Pertinent to the meeting locations, Greg

Rueb, Howard L. Nations, and Shantrell Nicks traveled to these locations to make sure things were

running “smoothly,” confirm the correct and necessary documents were in the facilities, and to see

the number of clients attending the meetings. Joseph A. Motta also traveled to South Louisiana to

meet with the staff on occasion to discuss the BP Subsistence Claims processing and filing.

       Because of her prior experience filing BP Subsistence Claims, Nicks and her internal legal

team were also charged with taking the documents coming in from clients and entering the data

into the joint venture’s DHECC Portal, listed under Howard L. Nations, APC. The Nations firm

compensated all field agents who were working in these meeting centers and Howard L. Nations,

Cindy L. Nations, and their internal team were key decision makers regarding Subsistence Claims

procedures as well as staffing decisions for handling and processing these claims.

       Ultimately, the efforts to recruit subsistence clients were highly successful in that the

Defendants handled at least 14,500 claimants in Louisiana, Mississippi, Alabama, and Florida.

Each Plaintiff herein engaged Defendants to provide legal representation in connection with his or

her participation in the BP settlement by filing a Subsistence Claim on his or her behalf with

DHECC.

       Deborah A. Gaudet, along with her husband Ray, attended one of the Defendant-scheduled



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meetings at the Lil Caillou School in Chauvin, Louisiana. At that meeting, Defendants’

representatives advised the Gaudets to fill out forms to identify their subsistence losses, which

formed the basis for their BP Subsistence Claim. At the meeting, forms were presented to claimants

that had been partially completed in advance by Defendants. Additionally, Defendants created and

placed poster boards in the meeting rooms that provided instruction to clients on what information

the client was to provide on the forms so that his or her claim could be properly filed and paid by

BP.

       At the meeting at the Lil Caillou School, Deborah A. Gaudet engaged Defendants to file a

claim as a result of damages she and her husband sustained from being restricted from harvesting

seafood in the closed coastal areas. Gaudet signed a fee agreement with Defendants and fully

expected their claim would be handled pursuant to the terms of the client contract she executed

with Defendants and in accordance with the BP Settlement Agreement -- allowing recovery for

specified subsistence losses.

       Subsequently, Deborah A. Gaudet called Defendants’ call center for an update on the status

of her claim. She was told there was nothing more that she needed to do and her claim was “still

pending.” Gaudet called again on several occasions between 2016 and March 14, 2019. Each

response was equally and sadly misleading – “Your claim is still pending.” Gaudet relied upon

this representation and fully believed her claim had been properly submitted to DHECC by the

Defendants. In March of 2019, Gaudet received a form denial letter which had been mailed en

masse by Defendants, stating that BP had “denied” her claim. The letter bore an October 31, 2018

date. In truth and in fact, Defendants had never filed a Subsistence Claim with DHECC on

Gaudet’s behalf. Yet, this disclosure, fundamental to the fiduciary relationship between attorneys

and their clients, had never been made known to her.



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       Similar to Gaudet, on May 26, 2015, Timothy Butler attended a community meeting hosted

by Defendants held at the home of Defendants’ representative in Thibodaux, Louisiana. Butler

provided the requisite information and completed the necessary documentation, including the

“Attorney-Client Contract,” for Defendants to file his BP Subsistence Claim. Butler was told by

Defendants’ field representative that his claim would be timely submitted to the DHECC. After

completion of the client contract and the necessary forms, Butler called Defendants’ call center for

an update on the status of his claim, and was told his claim was “still pending.” Butler relied upon

this representation and fully believed that his claim had been properly submitted to DHECC by

Defendants. However, in truth and in fact, Defendants never filed a Subsistence Claim with

DHECC on Butler’s behalf. Butler received a “denial” letter in March of 2019, which was identical

to Gaudet’s letter -- likewise dated October 31, 2018.

       Dian B. Campbell attended a meeting in Belle Chasse on May 29, 2015 at the Law Office

of Terry Sercovich, an office used by Defendants to host one of many community meetings. She

provided the requisite information and completed the necessary documentation, including the

“Attorney-Client Contract,” for Defendants to file her BP Subsistence Claim. Campbell

subsequently called Defendants’ call center several times for an update on the status of her claim,

and each time was told her claim was “still pending.” Campbell relied upon this representation and

fully believed that her claim was properly submitted to DHECC by Defendants. In truth and in

fact, Defendants had never filed a Subsistence Claim for Campbell. Campbell received a “denial”

letter from Defendants in February or March of 2019. The letter was identical to those received by

Gaudet and Butler -- likewise dated October 31, 2018.

       Kristine Collins attended a similar community meeting hosted by Defendants at a facility

in Golden Meadow on June 8, 2015. She provided the requisite information and completed the



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necessary documentation, including the “Attorney-Client Contract,” for Defendants to file her BP

Subsistence Claim. Collins fully believed that her claim had been properly submitted to DHECC

by Defendants. Unfortunately, Defendants failed to file a Subsistence Claim with DHECC on her

behalf by the June 8, 2015 deadline. Parallel to the other Plaintiffs, she received the same “denial”

form letter from Defendants in March of 2019 -- likewise dated October 31, 2018.

       On May 7, 2015, Regina Falgoust attended a community meeting hosted by Defendants at

the Lil Caillou School in Chauvin, Louisiana. Just as the others, she provided the requisite

information and completed the necessary documentation, including the “Attorney-Client

Contract,” for Defendants to file her Subsistence Claim. Falgoust also subsequently called

Defendants’ call center on multiple occasions for an update on the status of her claim, and was

told repeatedly her claim was “still pending.” Falgoust relied upon this representation and fully

believed her claim had been properly submitted to DHECC by Defendants. Ultimately, her

Subsistence Claim was denied for being incomplete. Although, Defendants filed her claim, they

knowingly failed to include specific documents required by the BP Settlement Agreement. In

February or March of 2019, she received a “denial” letter from Defendants dated October 31, 2018

identical to those received by other Plaintiffs, whose claims had been purportedly “denied.”

       On May 12, 2015, Abraham Gamberella attended a community meeting hosted by

Defendants at the Lil Caillou School in Chauvin. He provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for Defendants

to file his Subsistence Claim. Gamberella subsequently called Defendants’ call center for an update

on the status of his claim, and was told his claim was “still pending.” Gamberella relied upon this

representation and fully believed his claim had been properly submitted to DHECC by Defendants.

Gamberella’s Subsistence Claim was denied by BP for being incomplete. Again, Defendants filed



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his claim but knowingly failed to include specific documents required by the BP Settlement

Agreement. Gamberella received the same “denial” letter from Defendants in February or March

of 2019 -- likewise dated October 31, 2018.

        On May 29, 2015, Adam J. Hebert attended a community meeting hosted by Defendants

at the Lil Caillou School in Chauvin. He provided the requisite information and completed the

necessary documentation, including the “Attorney-Client Contract,” for Defendants to file his

Subsistence Claim. Upon completion of the intake packet, Hebert was told by Defendants’ field

representative that his claim would be timely submitted to the DHECC. Hebert subsequently

called Defendants’ call center several times for an update on the status of his claim, and was told

his claim was “still pending.” Hebert relied upon this representation and fully believed his claim

had been properly submitted to DHECC by Defendants. However, in truth and in fact, Defendants

never filed his Subsistence Claim with DHECC. Similar to other Plaintiffs, he received the same

“denial” form letter from Defendants in February or March of 2019 - - likewise dated October 31,

2018.

        On June 8, 2015, Fred Ledet attended the community meeting hosted by Defendants at the

Chackbay Volunteer Fire Station. June 8, 2015 was the BP Claim filing deadline for Subsistence

Claims. He provided the requisite information and completed the necessary documentation,

including the “Attorney-Client Contract,” for Defendants to file his Subsistence Claim. Upon

completion of the intake packet, Ledet was told by Defendants’ field representative that his claim

would be timely submitted to the DHECC. Ledet subsequently called Defendants’ call center

several times for an update on the status of his claim, and was told his claim was “still pending.”

Ledet relied upon this representation and fully believed his claim had been properly submitted to

DHECC by Defendants. Unfortunately, Defendants failed to file Ledet’s Subsistence Claim with



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DHECC by the June 8, 2015 deadline. Parallel to other Plaintiffs, he received the same “denial”

letter from Defendants in February or March of 2019 -- likewise dated October 31, 2018.

       On May 11, 2015, Stanwood Moore, Jr. attended a community meeting hosted by

Defendants at the Lil Caillou School in Chauvin. He provided the requisite information and

completed the necessary documentation, including the “Attorney-Client Contract,” for Defendants

to file his Subsistence Claim. Moore called Defendants’ call center for an update on the status of

his claim, and was told his claim was “still pending.” Moore relied upon this representation and

fully believed his claim had been properly submitted to DHECC by Defendants. The Subsistence

Claim on Moore’s behalf was denied for being incomplete. Although Defendants filed Moore’s

claim, Defendants knowingly failed to include specific documents required by the BP Settlement

Agreement. Similar to other Plaintiffs, Moore received the same “denial” form letter from

Defendants in February or March of 2019 -- likewise dated October 31, 2018.

       On June 2, 2015, James Scales, III attended a community meeting hosted by Defendants at

the Lil Caillou School in Chauvin, Louisiana. He provided the requisite information and completed

the necessary documentation, including the “Attorney-Client Contract,” for Defendants to file his

Subsistence Claim. Upon completion of the intake packet, Scales was told by Defendants’ field

representative that his claim would be timely submitted to the DHECC. Scales subsequently called

Defendants’ call center numerous times for an update on the status of his claim, and was told his

claim was “still pending.” Scales relied upon this representation and fully believed his claim had

been properly submitted to DHECC by Defendants. However, in truth and in fact, Defendants had

never filed a Subsistence Claim for Scales. Like other Plaintiffs, he received the same “denial”

form letter from Defendants in February or March of 2019 -- likewise dated October 31, 2018.

       These Plaintiffs are representative of the approximately two thousand six hundred ninety-



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five (2,695) proposed Class members along the Gulf Coast for whom Defendants contractually

agreed to properly file BP Subsistence Claims on their behalf, but failed to do so. Defendants

allowed their self-interest to take precedence and to become the primary motivating factor by

handling as many Subsistence Claims as they possibly could. By doing so, their avaricious self-

interest exceeded and overrode their individual client’s interests. Defendants knew or should have

known they were understaffed and incapable of timely processing all of their clients’ Subsistence

Claims. Allowing clients to enter into attorney-client contracts until the late hours of the June 8,

2015 deadline was reckless, thoughtless, and a recipe for disaster. Yet, Defendants did so

deliberately at their peril and to the irrefutable detriment of their clients, class members herein.

       Defendants were advised by their own on-site field representatives that their intake

facilities should close to allow Defendants’ personnel an opportunity to process, complete, and file

all Subsistence Claims by the June 8, 2015 deadline. Nevertheless, despite these warnings,

Defendants kept their facilities open until late in the evening on June 8, 2015 continuing to solicit

and accept representation for new Subsistence Claimants. In fact, Gregory Rueb – on behalf of the

joint venture – instructed the field agents to keep the facilities open and to expect an additional

3,000 claimants to sign-up during the final three (3) days prior to the deadline. It is believed that

the Defendants directed the joint venture field agents to inform clients that their claims would be

submitted timely upon acceptance of the intake packet.

       And in fact, Defendants continued to accept new claimants at their facilities until late into

the night on June 8, 2015, which required their field agents to continue working into the early

hours of the morning on June 9, 2015 (past the filing deadline) attempting to organize claimants’

paperwork and prepare it for filing. Defendants’ cavalier and careless attitude toward their clients

continued unabated over the next few years. When Defendants received DHECC incompleteness



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notices, they either chose to ignore the notices or were simply overwhelmed with the number of

claims they were handling. This neglect resulted in denied claims that simply lacked

documentation that could have and should have been provided by Defendants.

       Defendants knew, or should have known, of the many non-filed, untimely, or incomplete

claims soon after the June 8, 2015 filing deadline. Yet, Defendants misled Plaintiffs as to the status

of their Subsistence Claims and inexcusably delayed notification to the clients for more than three

years about the “denial” of their claims. Adding insult to injury, when Defendants notified

Plaintiffs about the “denial” of their claims, Defendants blamed BP instead of acknowledging their

own fault and neglect. Furthermore, Defendants sent “denial” letters en masse which falsely

claimed that Plaintiffs’ and proposed Class members’ claims had been properly filed but denied

by BP. But in fact, the claims had never been filed at all. Upon information and belief, this “denial”

letter was drafted by Howard L. Nations and Cindy Nations with the input and approval of the

other joint venture attorneys.

       This class action litigation is intended to protect the rights of clients, previously represented

by Defendants, who lost the opportunity to participate in recovery of their Subsistence Claims

through the BP Settlement Program. Their lost opportunities result solely from Defendants’ breach

of contract, professional malpractice, and fraud. As a result of Defendants’ misconduct, none of

Plaintiff class members received any compensation for their Subsistence Claim through the BP

Settlement Program. This suit seeks to recover from Defendants the compensation that their former

clients should have and would have received had Defendants timely filed those claims with all

documentation and information required by the BP Settlement Agreement.

                                                  1.

      This is a class action lawsuit to recover damages for breach of contract, professional



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malpractice, and fraud arising from Defendants’ actions and inactions committed while

representing the interests of the proposed Class members in the Deepwater Horizon Economic and

Property Damage Settlement Program, in which BP Class members made claims to be

compensated for their subsistence losses caused by the Deepwater Horizon catastrophe.

                                            PARTIES

                                                2.

       Plaintiffs:

       Deborah A. Gaudet, a natural person of the full age of majority, domiciled in and a citizen

of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Timothy Butler, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Dian Campbell, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Plaquemines, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Kristine Collins, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Lafourche, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;



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       Regina Falgoust, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Abraham Gamberella, a natural person of the full age of majority, domiciled in and a citizen

of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Adam J. Hebert, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure;

       Fred Ledet, a natural person of the full age of majority, domiciled in and a citizen of the

State of Louisiana, Parish of Lafourche, individually, and on behalf of all other similarly situated

persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal Rules of

Civil Procedure;

       Stanwood Moore, Jr., a natural person of the full age of majority, domiciled in and a citizen

of the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal

Rules of Civil Procedure; and

       James Scales, III, a natural person of the full age of majority, domiciled in and a citizen of

the State of Louisiana, Parish of Terrebonne, individually, and on behalf of all other similarly

situated persons constituting the Class sought to be certified pursuant to Rule 23 of the Federal



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Rules of Civil Procedure.

                                               3.

       Defendants:


       a)     Howard L. Nations, APC, a Texas corporation, doing business in the State of
              Louisiana and within this district;
       b)     The Nicks Law Firm, LLC, a Mississippi limited liability company, doing business
              in the State of Louisiana and within this district;
       c)     Rueb & Motta, APLC, a California corporation, doing business in the State of
              Louisiana and within this district;
       d)     Joseph A. Motta, Attorney at Law, APLC, a California corporation, doing business
              in the State of Louisiana and within this district;
       e)     The Rueb Law Firm, APLC, a California corporation, doing business in the State
              of Louisiana and within this district;
       f)     Howard L. Nations, a person of the full age of majority, a resident of and domiciled
              in the State of Texas, who personally rendered professional services as an employee
              of Howard L. Nations, APC and/or personally participated in directly supervising
              other employees and members of his corporation or professional limited liability
              company who rendered professional services on behalf of Howard L. Nations, APC
              to the BP Subsistence Claimants in connection with the wrongful acts and/or
              omissions alleged and detailed herein;
       g)     Cindy L. Nations, a person of the full age of majority, a resident of and domiciled
              in the State of Texas, who personally rendered professional services as an employee
              of Howard L. Nations, APC and/or personally participated in directly supervising
              other employees and members of her corporation or professional limited liability
              company who rendered professional services on behalf of Howard L. Nations, APC
              to the BP Subsistence Claimants in connection with the wrongful acts and/or
              omissions alleged and detailed herein;
       h)     Shantrell Nicks, a person of the full age of majority, a resident of and domiciled in
              the State of Mississippi, who personally rendered professional services as an
              employee of The Nicks Law Firm, LLC and/or personally participated in directly
              supervising other employees and members of her professional limited liability
              company who rendered professional services on behalf of The Nicks Law Firm,
              LLC to the BP Subsistence Claimants in connection with the wrongful acts and/or
              omissions alleged and detailed herein;
       i)     Gregory D. Rueb, a person of the full age of majority, a resident of and domiciled
              in the State of California, who personally rendered professional services as an

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               employee of Rueb & Motta, APLC and The Rueb Law Firm, APLC and/or
               personally participated in directly supervising other employees and members of his
               corporations and/or professional limited liability companies who rendered
               professional services on behalf of Rueb & Motta, APLC and/or The Rueb Law
               Firm, APLC to the BP Subsistence Claimants in connection with the wrongful acts
               and/or omissions alleged and detailed herein; and,
       j)      Joseph A. Motta, a person of the full age of majority, a resident of and domiciled
               in the State of California, who personally rendered professional services as an
               employee of Rueb & Motta, APLC and Joseph A. Motta, Attorney at Law, APLC
               and/or personally participated in directly supervising other employees and
               members of his corporations and/or professional limited liability companies who
               rendered professional services on behalf of Rueb & Motta, APLC and/or Joseph A.
               Motta, Attorney at Law, APLC to the BP Subsistence Claimants in connection with
               the wrongful acts and/or omissions alleged and detailed herein.
       (hereinafter “Defendants,” all of whom participated individually and collectively in the
       solicitation and engagement of BP Subsistence Claimants as a joint venture by either a)
       personally participating in the solicitation, engagement, and performance or non-
       performance of legal services for BP Subsistence Claimants, and/or b) personally and
       directly supervising and controlling other members or employees of their corporations or
       professional limited liability companies who rendered or failed to render professional
       services for and on to the BP Subsistence Claimants on behalf of their respective
       corporations and/or professional limited liability companies).

                                JURISDICTION AND VENUE

                                                 4.

       This Court has subject matter jurisdiction over this action pursuant to the Class Action

Fairness Act of 2005 (“CAFA”) because: (i) there are 100 or more class members, (ii) the aggregate

amount in controversy exceeds $5,000,000.00, exclusive of interest and costs, and (iii) at least one

Plaintiff and Defendant are citizens of different states. See 28 U.S.C. § 1332(d).

       To date, undersigned counsel have been engaged by and represent approximately one

hundred twenty-three (123) clients, including an additional one hundred seventy-five (175)

dependents of these clients. All of these clients contend and believe they have been harmed by the

Defendants in the same manner as the named Plaintiffs herein, and thus, are putative Class

members. Furthermore, Plaintiffs discovered, through pre-certification discovery, that the


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proposed Class consists of approximately 2,695 individuals across the Gulf Coast. Therefore,

CAFA’s minimum requirement of 100 class members has been easily satisfied. CAFA’s minimum

amount in controversy requirement of $5,000,000.00 is also satisfied. The Plaintiffs’ damages may

easily be calculated by using the “Subsistence Loss Formula,” described in the BP Settlement

Agreement and created by the BP Settlement Program. This formulaic calculation makes the

computation of each Class member’s subsistence loss a simple mathematical equation which

involves the input of data and values based on charts created by the BP Settlement Program. The

“Subsistence Loss Formula” used by DHECC to calculate total compensation is below:




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Based on this underlying “Subsistence Loss Formula” and the average payment determinations

made for the 10,744 joint venture subsistence clients whose claims were filed and paid, it can be

determined with a high (95%) probability that the average payment for each proposed Class

member would be within the range of $14,238.05 to $14,500.03. By multiplying this damage

amount by the number of individuals (2,695) in the proposed Class, it can be determined that the



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total economic damages suffered by the proposed Class is between $38,371,544.75 to

$39,077,580.85. Thus, the aggregate amount in controversy related to the proposed Class is nearly

$40,000,000.00 – well above CAFA’s $5,000,000.00 minimum requirement.

       Further, CAFA’s diversity requirement is also satisfied. In this case, each named Plaintiff

is a citizen of Louisiana. The principal place of business of Howard L. Nations, APC is Texas. The

Nicks Law Firm, LLC is solely owned by its member, Shantrell Nicks, a citizen of Mississippi.

The principal place of business of Rueb & Motta, APLC is California. The principal place of

business of Joseph A. Motta, Attorney at Law, APLC is California. The principal place of business

of The Rueb Law Firm, APLC is also California.

       Additionally, this Court also has diversity jurisdiction under 28 U.S.C. § 1332(a) because

all of the named Class representatives and Defendants are completely diverse and the claim of

Abraham Gamberella, a proposed Class representative, against Defendants exceeds $75,000.

Gamberella possessed a Subsistence Claim individually and on behalf of his three (3) dependents.

Gamberella regularly fished in Madison Bay, Wonder Lake, and Lake Barré in Terrebonne Parish

and Elmer’s Island in Jefferson Parish. Unfortunately, due to the BP oil spill, he was unable to

fish at his regular locations from April 20, 2010 to March 7, 2012. Due to the closed areas,

Gamberella lost the ability to harvest his normal amounts of croaker, sheepshead, drum, redfish,

flounder, speckled trout, shrimp, and crabs. Applying the BP Settlement Program’s “Subsistence

Loss Formula” to the information Gamberella provided Defendants to file his Subsistence Claim

yields a loss amount for Gamberella in excess of $100,000. Because this Court has diversity

jurisdiction of Gamberella’s claim, and as a proposed Class representative, this Court has

supplemental jurisdiction over the other Class members’ claims pursuant to 28 U.S.C. § 1367




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regardless of whether the CAFA requirements have been satisfied.1

                                                        5.

        Venue is proper in the Eastern District of Louisiana pursuant to 28 U.S.C. § 1391(b)(2)

and (3) because a substantial number of the events or omissions giving rise to Plaintiffs’ claims

occurred in this district. It is uncontradicted that the BP Oil Spill caused damage to the residents

of this district, including members of the proposed Plaintiff Class. Thus, Plaintiffs’ claims for

damages and losses from the BP Oil Spill originated in this district. Litigation for recovery of

economic damages caused by the BP Oil Spill was held and concluded in this district. Moreover,

Defendants purposely availed themselves in this district by soliciting Plaintiffs, who resided in this

district, by advertising and holding “Fishing Claim Centers/Meeting Locations” in this district.

Further, Defendants received substantial revenues from their representation of other claimants

residing in this district. Additionally, Nations Law Firm, in defending a lawsuit against it in

Florida, has made jurisdictional representations indicating that this Court is a proper jurisdictional

forum for BP Subsistence Claims. Defendant-Nations wrote: “It cannot be disputed that the

Plaintiffs’ claims arise from litigation based in Louisiana Federal Court and that the Court of the

Eastern District of Louisiana is the proper jurisdiction for this matter to be brought.”2

                                       FACTUAL ALLEGATIONS

                                                        6.

        The Deepwater Horizon was a semi-submersible oil drilling rig owned by Transocean and


1
  See Exxon Mobil Corp. v. Allapattah Servs., Inc., 545 U.S. 546, 549 (2005) (“We hold that, where the other
elements of jurisdiction are present and at least one named plaintiff in the action satisfies the amount-in-
controversy requirement, §1367 does authorize supplemental jurisdiction over the claims of other plaintiffs in
the same Article III case or controversy, even if those claims are for less than the jurisdictional amount specified
in the statute setting forth the requirements for diversity jurisdiction.”)
2
  See Defendant’s Supplemental Exhibit and Memorandum (Florida litigation). The Downs Law Group, A
Florida Corporation v. no. 18-12590-CA The Nations Law Firm, Rueb & Motta, PLC, The Nicks Law Firm,
LLC and Litigation Settlement Services, Inc.

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leased, chartered, and operated by BP approximately fifty (50) miles southeast of Venice,

Louisiana in the Gulf of Mexico. At approximately 10 o’clock p.m. on April 20, 2010, while the

Deepwater Horizon was performing oil and gas operations off the coast of Louisiana, an explosion

occurred on the vessel, causing its crewmembers to be thrown overboard and killing at least 11

crewmembers aboard the vessel. The explosion and subsequent fire caused such significant

damage that the Deepwater Horizon subsequently sank in approximately 5,000 feet of water.

                                                7.

       As a result of the explosion and the subsequent sinking of BP’s Deepwater Horizon, it has

been estimated that 4.9 million barrels of oil leaked into the Gulf of Mexico between April 20,

2010 and July 15, 2010. The 87-day oil spill caused significant ecological and economic damage

to Louisiana, Mississippi, Alabama, Florida, and Texas.

                                                8.

       Due to the devastation caused to the coastal marine and wildlife habitats by the BP Oil

Spill, on April 30, 2010, the Louisiana Department of Wildlife and Fisheries closed a significant

number of coastal boundaries and waterways for recreational and commercial fishing. Other Gulf

states followed with similar recreational and commercial fishing directives and closures.

                                                9.

       The members of the proposed Plaintiff Class reside in Louisiana, Mississippi, Alabama,

and Florida, where they, at all times prior to the BP Oil Spill, caught and harvested natural

resources from the Gulf of Mexico, such as fish, seafood, and game in a traditional manner to

sustain their basic personal and family dietary, economic, and security needs. Plaintiffs intended

to continue catching and harvesting fish, seafood, and game for the purpose of subsistence use.

However, as a result of the closures of coastal boundaries, waterbodies, and waterways, Plaintiffs



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were unable to harvest fish, seafood, or game in the closed areas. Typically, these geographically

closed areas were used by Plaintiffs because of their proximity to Plaintiffs’ residences.

Consequently, Plaintiffs sustained a significant loss of subsistence use of the traditionally abundant

coastal natural resources.

                                                 10.

       At all times during which Plaintiffs used or intended to use the coastal natural resources

for subsistence, Plaintiffs maintained and held valid state government-issued licenses to harvest

fish, seafood, and game in their respective home states.

                                                 11.

       At all relevant times, Plaintiffs were not fishing or hunting for sport. Instead, Plaintiffs

harvested natural resources from the Gulf of Mexico for subsistence purposes.

                                                 12.

       Multiple class action lawsuits were filed against BP and other parties responsible for the

BP Oil Spill to recover losses, including economic and property damage, sustained as a result of

the BP Oil Spill. These lawsuits were consolidated in a Multidistrict Litigation proceeding (MDL

No. 2179) in the United States District Court for the Eastern District of Louisiana.

                                                 13.

       Ultimately, the matters pending in MDL No. 2179 resulted in the Deepwater Horizon

Economic and Property Damages Settlement Agreement (“BP Settlement Agreement”), which

was certified by the Court on December 21, 2012.

                                                 14.

       The BP Settlement Agreement established the Economic and Property Damages Settlement

Class (“BP Class”), which included persons and entities located in geographically defined areas



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around the Gulf Coast and who sustained losses as a result of the BP Oil Spill.

                                               15.

       For eligible claimants, the BP Settlement Agreement provided for payment of economic

loss and property damage claims for certain damage categories: Business Economic Loss,

Individual Economic Loss, Subsistence Loss, Coastal Real Property Damage, Wetlands Real

Property Damage, and Vessel of Opportunity Charter Payments.

                                               16.

       BP Class members were able to assert their rights with respect to the BP Settlement

Agreement and to receive compensation for their BP Oil Spill related losses by filing claims (i.e.

BP Claims) with the Deepwater Horizon Economic Claims Center (“DHECC”), which

administered claims established by the BP Settlement Agreement. Failure by the claimant or his

counsel (in this case Defendants) to include or submit the required documents rendered a claim

ineligible for compensation. [See ¶¶ 32 and 38 for required information and documentation for a

valid, eligible Subsistence Claim as per the DHECC requirements.]

                                               17.

       The deadline to file all BP Claims, including Subsistence Claims, with DHECC was June

8, 2015 (except for those claims carved out previously in the Seafood Compensation Program -

compensation for commercial fishermen - which are not at issue in this litigation). The deadline to

file BP Claims was widely promulgated by DHECC so that all interested parties and their counsel

were notified of the deadline. The following notice of the BP Claims filing deadline was posted

on the DHECC website:




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  10.      June 8, 2015 Filing Deadline (Posted May 18, 2015). The
           final deadline for filing all Deepwater Horizon Economic and
           Property Damages Settlement Program claims is June 8, 2015.
           This deadline does not apply to or extend the deadline for filing
           claims under the Seafood Compensation Program, which
           deadline has already expired. Claim Forms for filing of all new
           claims (other than those under the Seafood Compensation
           Program) must be completed and signed in accordance with
           Section 4.4.5 of the Settlement Agreement, and submitted to
           the Settlement Program on or before June 8, 2015.Click here to
           view an Alert with additional information.




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                                              18.

      To monetize the BP Settlement Agreement for their benefit, Defendants entered into a joint

venture agreement on April 16, 2015 “to jointly prosecute Deepwater Horizon Economic and

Property Settlement Subsistence Claims” as detailed in the following amendments to the original

agreement (The original Joint Venture Agreement either does not exist or cannot be located by

Defendants):




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      Prior to finalizing their joint venture agreement in April of 2015, Defendants met with

litigation consultant James “Jim” Griggs to discuss the “viability” of setting up Subsistence Claim

meeting facilities. Discussing the viability of claims intake was critical since Defendants were

aware of the abbreviated time interval remaining before the deadline. The joint venture members

decided to move forward with the Subsistence Claim processing and filing with each individual

Defendant playing an essential, prescribed, and agreed-upon role.

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      Shantrell Nicks originally took the lead in processing and filing the claims once the

information and documentation had been obtained from the joint venture’s Subsistence Claim

facilities. Prior to the joint venture, Nicks and her law firm had been processing and filing BP

Subsistence Claims for her own individual subsistence clients. Thus, she was the only person,

among the joint venture partners, with prior subsistence claims handling experience. Information

and documentation collected from the facilities was therefore delivered directly to Nicks’ office

for processing and filing. Nicks personally filed thousands of claims on behalf of the joint venture,

including a volume of claims she personally delivered in a U-Haul truck to one of the DHECC

claim facilities. Nicks also personally visited a number of joint venture meeting locations during

both their initial organization and during the claims’ intake process.

      Gregory Rueb was intimately involved at the ground level and often visited the facilities

with Jim Griggs to make sure everything was flowing smoothly and to provide the joint venture

field agents with directions. Rueb’s business partner at the time, Defendant Motta, also visited the

facilities on occasion and met with the field agents to discuss the BP Subsistence Claims. The

Defendants set up a call center for subsistence clients which Rueb & Motta initially managed on

behalf of the joint venture at their offices in California. Motta was assigned the management of

the call center while Rueb spent a significant amount of time traveling to Defendants’ facilities

and meeting with their field agents.

       Howard L. Nations and Cindy L. Nations were key decision-makers when it came to the

joint venture’s procedures and staffing. In fact, both Nations Defendants personally participated

in the drafting of the “denial” letters which falsely misrepresented to their clients that their claims

were properly filed but denied by BP. Howard L. Nations also personally participated in the BP

Subsistence Claims process including visiting the facilities, regularly speaking with joint venture



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field agents who worked at the meeting locations, and even personally delivering claims to a FedEx

facility on June 8, 2015 – the deadline. His personal signature was also affixed to the overwhelming

majority of the joint venture’s Attorney-Client contracts and submitted claim forms. Howard

regularly discussed issues with the DHECC Claims Administrator, including his assertions that he

personally disputed determinations of untimeliness. Shantrell Nicks and Gregory Rueb also

communicated with the DHECC Claims’ Administrator through various attempts to solve issues

that arose in the joint venture’s claims filing and processing. Howard Nations, along with Rueb,

were also responsible for providing direction to Griggs, the joint venture’s claims consultant.

Howard Nations, Rueb, and Nicks reviewed and approved all material prepared by Griggs –

including the initial intake packet(s) – before they were provided to their clients.

      Plaintiffs contend that due to the high volume of subsistence clients the joint venture agreed

to represent, Nicks was unable to process and file all of the claims on her own. It was eventually

necessary for all of the individual attorneys and/or staff, for whom they were directly responsible,

to participate in the processing and/or filing of BP Subsistence Claims on behalf of the joint

venture. All of the named attorney Defendants also personally participated in conference calls with

each other and with their field agents.

      Ultimately, the Defendants – through their joint venture - solicited the Plaintiffs and

thousands of other individuals who were entitled to compensation for subsistence losses related to

the BP Oil Spill. Specifically, Defendants sought to represent the interests of Plaintiffs by agreeing

to prepare and file their BP Claims with DHECC in order for Plaintiffs, and their other clients, to

receive compensation for BP Oil Spill related subsistence losses. In consideration for the legal

representation of their clients, including Plaintiffs, Defendants received attorneys’ fees of 25% of

the amount of the client’s recovery.



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                                                19.

       During the months leading up to the June 8, 2015 deadline, one method of client solicitation

used by Defendants was to advertise meetings conducted by Defendants at locations and times that

Defendants commonly called “Fishing Claim Centers/Meeting Locations” in Louisiana,

Mississippi, Alabama, and Florida. Defendants advertised their “Fishing Claim Centers/Meeting

Locations” as locations at which BP class members could file their BP Claim, but Defendants

actually used these advertised meetings as an opportunity to attract BP Class members to the

locations in order to engage clients for legal representation in the BP Settlement Agreement claims

process. Defendants’ “Fishing Claim Centers/Meeting Locations” were advertised as provided

below:



 LOUISIANA
 Chauvin                                    Belle Chasse                    Fourchon
 5756 Hwy. 56                               8558 Hwy 23                     Moran’s Marina
 Project Learn (Old Lil Caillou School)     Law Office of Terry Sercovich   27900 Highway 1
 Monday‐Saturday 9AM‐1PM                    Monday‐Friday 9AM‐6PM           Conference Room
 Open Memorial Day Weekend                                                  Memorial Day Weekend
 (Sat.-Mon.) 9AM-5PM                                                        (Sat.-Mon.) 9AM-5PM


 Golden Meadow                              Jean Lafitte                    Violet/St. Bernard’s
 2406 South Bayou Dr.                       2608 Jean Lafitte Blvd.         2621 Colonial Blvd.
 American Legion Post 259                   The Lafitte Art's Center        Our Lady of Lourdes Church
 Monday‐Saturday 9AM‐1PM                    Monday‐Friday 10AM‐7PM          Secondary Building
 Open Memorial Day Weekend                  Open Memorial Day Weekend       Monday-Friday 9AM-5PM
 (Sat.-Mon.) 9AM-5PM                        (Sat.-Mon.) 9AM-5PM


 Chackbay                                   Grand Isle
 100 Highway 304                            3101 Highway 1
 Volunteer Fire Station                     Grand Isle Multiplex
 Monday‐Saturday 9AM‐1PM                    Thurs. May 21 and Fri. May 22
 Open Memorial Day Weekend                  8AM-3PM


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 (Sat.-Mon.) 9AM-5PM


 Chalmette                                Cocodrie
 3400 Paris Rd                            Houma Oilman’s Rodeo
 Best Western                             8239 Highway 56
 May 23, 24, 25 & 30, 31 9AM‐5PM          Harbor Light Marina
 Open Memorial Day Weekend                Thurs. May 21-Sat. May 23
 (Sat.-Mon.) 9AM-5PM                      3PM-7PM




 MISSISSIPPI
 Gulfport                                 Gulfport                     Pascagoula
 1600 E. Beach Blvd.                      1806 25th Ave.               4800 Amoco Rd.
 Courtyard Marriott                       Nicks Law Firm               Holiday Inn Express
 Harbor & Bay Rooms                       Monday-Saturday              Pascagoula-Moss Point
 May 23, 24, 30, and 31                   9AM-5PM                      May 23, 24, 30 and 31
 9AM-5PM                                                               9AM-5PM


 ALABAMA
 Mobile                                   Mobile                       Gulf Shores
 600 West I-65 Service Rd. South          7220 First St.               3947 Gulf Shores Pkwy.
 Ashbury Hotel Conference Center          Nicks Law Firm               Gulf Shores Staybridge Suites
 May 23, 24, 30 and 31                    Monday-Friday 10AM-9PM       Magnolia Meeting Room
 9AM-5PM                                  Saturday 10AM-2PM            May 23, 24, 30 and 31
                                                                       9AM-5PM
 FLORIDA
 Pensacola                                Pensacola
 7813 N. Davis Hwy                        3298 Summit Blvd., Ste. 32
 Holiday Inn                              Law Offices of Dan Sanders
 Garden Room                              Ameriprise Financial Bldg.
 May 23, 24, 30 and 31                    Monday-Thursday 9AM-4PM
 9AM-5PM                                  Friday 9AM-12PM



                                             20.

       Defendants’ “Fishing Claim Centers/Meeting Locations” were successful in attracting

clients, as Defendants executed thousands of attorney-client agreements with newly-engaged

clients leading up to and even on the DHECC June 8, 2015 deadline.


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                                                 21.

       Plaintiffs herein were members of the BP class by virtue of their status as residents of Gulf

Coast states at all relevant times and who sustained subsistence losses as a result of the coastal

boundary and waterway closures necessitated by the BP Oil Spill. The BP Settlement Agreement

expressly provided for a subsistence loss “Damage Category” and the BP Settlement Agreement

provided for payment of settlement amounts to BP class members.

                                                 22.

       On June 1, 2015, Plaintiff Deborah A. Gaudet attended Defendants’ “Fishing Claim

Centers/Meeting Locations” at Old Lil Caillou School in Chauvin, Louisiana where she executed

the Defendants’ contingency fee agreement, titled “Attorney-Client Contract,” to engage

Defendants to prepare and file her individual BP Claim in order to be compensated for her BP Oil

Spill-related subsistence losses. The “Attorney-Client Contract” was signed by Gaudet and had

also been signed by Howard L. Nations on behalf of the joint venture. The signed “Attorney-

Client Contract” is provided below.

       Likewise, Timothy Butler, Dian B. Campbell, Kristine Collins, Regina Falgoust, Abraham

Gamberella, Adam J. Hebert, Fred Ledet, Stanwood Moore, Jr., and James Scales, III, signed

“Attorney-Client Contracts” identical to the one signed by Gaudet. All of the Attorney-Client

Contracts were provided to Plaintiffs by Defendants’ representatives or their agents at the facilities.

Some of the contracts had been signed previously by one of the Defendants and others were

awaiting signature by one of the Defendants. The contracts are provided below:




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                                                 23.

      Based on the express terms of the “Attorney-Client Contract,” Defendants obligated

themselves to “prosecute all claims against all necessary defendants arising out of Event: BP

Deepwater Horizon Oil Spill Class Action Settlement,” including preparing and filing Plaintiffs’

BP Subsistence Claim with the DHECC as outlined in the BP Settlement Agreement. Thus,

Defendants were obligated contractually to competently and diligently represent Plaintiffs’ legal

rights in the BP Claims process.

                                                 24.

       Once Plaintiffs retained Defendants as their lawyers, the clients had no access to the

DHECC online portal, which maintained all documents and notices for each claimant. The portal

was exclusively for the law firms and restricted solely to lawyers for the joint venture.

                                                 25.

       Thus, Plaintiffs were required to rely on Defendants’ representations, specifically, that

Defendants would prosecute their respective BP Claim competently and zealously to maximize

Plaintiffs’ recovery for their BP Oil Spill-related subsistence loss.

                                                 26.

      Plaintiffs who visited Defendants’ intake facilities were required to place their signature on

a “sign-in” sheet at the entrance of the facility at which time they received a Defendant-provided

intake packet. Often with assistance from Defendants’ field representatives, Plaintiffs completed

the intake packet documents, including an “Attorney-Client Contract,” an Authorization Form

providing Defendants the authority to obtain the claimant’s hunting and fishing license, an IRS W-

9 form, and initial intake forms to provide personal information and loss of species information.

Plaintiffs were told the intake packets included all of the required documentation for Defendants



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to prepare and file Plaintiffs’ BP Subsistence Claims in order to receive compensation for their

losses.

                                                 27.

          Upon completion of the intake packets at the meeting facilities, numerous Plaintiff Class

members were concerned their claims would not be filed timely due to the large number of people

in attendance at the meeting facilities. Throughout this period of time, but particularly in the last

several days before the deadline, numerous claimants questioned Defendants’ field representatives

about their concerns regarding sufficient time to file. Numerous Class members specifically asked

the field representatives – who were the only joint venture workers available to question - about

the ability of the Defendants to process all of the claims. Pursuant to Defendants’ direction, the

field agents – all non-lawyers and contract workers hired by the joint venture – explicitly promised

and assured the claimants that their packets were complete and their claims would be timely filed.

These were the very same field agents who knew, and who advised the Defendant lawyers, that

the magnitude of claims was overwhelming and they were incapable of completing and filing all

of them. Unfortunately, the claimants relied upon these knowingly false, fraudulent promises and

assurances which was ultimately to their detriment.

                                                 28.

      Tragically for the Plaintiff Class, Defendants failed to timely file appropriately documented

BP Claim forms prior to the June 8, 2015 deadline. Consequently, the Plaintiff Class lost the

opportunity to receive an award for their BP Subsistence Claim because Defendants failed to

comply with the claim filing deadline with the required documentation.

                                                 29.

      At all material times after June 8, 2015, Defendants misrepresented this outcome



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determinative fact, namely that Defendants had never filed a timely and complete claim on behalf

of Plaintiff Class members.

                                                   30.

       Since the Plaintiff Class was prohibited from communicating with DHECC or otherwise

authorized to receive status updates on their BP Claim through the DHECC portal, the Plaintiff

Class contacted Defendants’ call center to inquire about the status of their BP Claim. On each and

every one of those client contacts, Defendants falsely advised Plaintiff Class members that their

BP Claim was “still pending” when Defendants knew to a certainty that the “still pending” status

information was false, misleading, and a blatant concealment of the truth.

                                                   31.

       But for Defendants’ failure to timely file a complete BP claim on behalf of each Plaintiff

Class member, the Plaintiff Class would have received awards from DHECC compensating them

for their BP Oil Spill related-subsistence loss.

                                                   32.

       At all material times, the Plaintiff Class members satisfied the required prongs of the BP

Settlement Agreement in order to receive compensation awards from DHECC for their subsistence

losses. First, a) Plaintiff Class members satisfied the “Subsistence Claimant” definition in that

they fished and hunted to harvest, catch, and consume Gulf of Mexico natural resources, such as

fish, seafood, and game, in a traditional and customary manner to sustain their basic personal and

family dietary and economic security needs, and b) Plaintiff Class members relied upon the

subsistence resources that had been diminished or restricted in the geographic regions resulting

from the BP Oil Spill. Second, Plaintiff Class members provided Defendants with sufficient

documentation to establish the quantity of Gulf of Mexico natural resources they lost during the



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specified time period. Third, the Plaintiff Class members provided Defendants with copies of their

state-issued hunting and fishing licenses for the fiscal year 2009-2010 and/or provided Defendants

authorization forms to obtain the required hunting and fishing licenses.

         Thus, each Plaintiff Class member furnished Defendants with all documentation necessary

for Defendants to file a valid and eligible Subsistence Claim on Plaintiff’s behalf. The Plaintiff

Class members most certainly would have received a compensation award from DHECC for their

subsistence losses if Defendants had properly filed and completed their respective BP Subsistence

Claim.

                                                 33.

         Several months after submitting her documents to Defendants, Deborah A. Gaudet called

Defendants’ call center for an update on the status of her claim. She was told there was nothing

more that she needed to do and her claim was “still pending.” Gaudet called again on several

occasions between 2016 and March 14, 2019. Each response was equally and sadly misleading –

“Your claim is still pending.” Gaudet relied upon Defendants’ misrepresentations concerning the

status and disposition of her BP Subsistence Claim. She believed her claim had been properly

submitted by Defendants and no other action was required.

         On March 14, 2019, Gaudet received a form letter from the Defendants. Curiously, the

letter was dated October 31, 2018, but not postmarked until March 12, 2019. For the first time,

this letter communication from the Defendants informed Mrs. Gaudet her “claim was one of many

which were denied by BP.” However, no Subsistence Claim had ever been filed on behalf of

Gaudet. The Defendants’ “denial” letter further specified that Gaudet and the Defendants were

“left with no possibility of an effective appeal.” The letter listed nine (9) examples of reasons that

properly filed claims had been denied. However, the Defendants’ failure to timely file a complete



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claim on the claimant’s behalf was noticeably absent from the list. If the Defendants had not

intentionally misrepresented and fraudulently concealed the truth from Mrs. Gaudet that her claim

was never filed, she may have had an opportunity to amend such egregious failures by the

Defendants. Unfortunately, the Defendants intentional misrepresentation and harmful concealment

of the truth prevented such rehabilitation and caused Deborah Gaudet to suffer economic loss.

       Similar to Gaudet, Timothy Butler called the Defendants’ call center for an update on the

status of his claim, and was told his claim was “still pending.” Timothy Butler made several phone

calls to the Defendants’ call center between June 8, 2015 and March 14, 2019, each response was

nearly identical-your claim is “still pending.” Timothy Butler relied upon Defendants’

misrepresentations concerning the status and disposition of his BP Subsistence Claim; and thus,

he believed that no other action was required.

       In February or March of 2019, Plaintiff Butler also received an identical form letter from

the Defendants stating that his Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on his behalf. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mr. Butler that his claim was never filed,

he may have had an opportunity to amend such egregious failures by the Defendants.

Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused Timothy Butler to suffer economic loss.

       Dian Campbell called the Defendants’ call center numerous times for updates on the status

of her claim, and was told each time that her claim was “still pending.” Dian Campbell relied upon

Defendants’ misrepresentations concerning the status and disposition of her BP Subsistence Claim;

and thus, she believed her claim was properly submitted by the Defendants and no other action

was required.



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       In February or March of 2019, Plaintiff Campbell also received an identical form letter

from the Defendants stating that her Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on her behalf. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mrs. Campbell that her claim was never

filed, she may have had an opportunity to amend such egregious failures by the Defendants.

Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused Dian Campbell to suffer economic loss.

       In February or March of 2019, Plaintiff Collins also received an identical form letter from

the Defendants stating that her Subsistence Claim had been denied. Unfortunately, the Defendants

failed to file a Subsistence Claim with DHECC on her behalf by the June 8, 2015 deadline. If the

Defendants had not intentionally misrepresented and fraudulently concealed the truth from Mrs.

Collins that her claim was never filed, she may have had an opportunity to amend such egregious

failures by the Defendants. Unfortunately, the Defendants intentional misrepresentation and

harmful concealment of the truth prevented such rehabilitation and caused Kristine Collins to

suffer economic loss.

       Regina Falgoust called the Defendants’ call center multiple times for updates on the status

of her claim, and was told each time that her claim was “still pending.” Mrs. Falgoust relied upon

Defendants’ misrepresentations concerning the status and disposition of her BP Subsistence Claim;

and thus, she believed her claim was properly submitted by the Defendants and no other action

was required.

       In February or March of 2019, Plaintiff Falgoust received an identical form letter from the

Defendants stating that her Subsistence Claim had been denied. In truth and in fact, Falgoust’s

Subsistence Claim had been denied because the Defendants knowingly failed to include and submit



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all of the required documentation to DHECC. Simply put, Defendants failed to timely and properly

file a colorable Subsistence Claim for Falgoust. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mrs. Falgoust that her claim was filed

incomplete, she would have had an opportunity to amend such errors caused by the Defendants.

Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused Regina Falgoust to suffer economic loss.

       Abraham Gamberella called the Defendants’ call center for an update on the status of his

claim, and was told his claim was “still pending.” Mr. Gamberella relied upon the Defendants’

misrepresentations concerning the status and disposition of his BP Subsistence Claim; and thus,

he believed his claim was properly submitted by the Defendants and no other action was required.

       In February or March of 2019, Plaintiff Gamberella also received an identical form letter

from the Defendants stating that his Subsistence Claim had been denied. In truth and in fact,

Gamberella’s Subsistence Claim had been denied because the Defendants knowingly failed to

include and submit all of the required documentation to DHECC. Simply put, Defendants failed

to timely and properly file a colorable Subsistence Claim for Gamberella. If the Defendants had

not intentionally misrepresented and fraudulently concealed the truth from Mr. Gamberella that

his claim was filed incomplete, he would have had an opportunity to amend such egregious failures

by the Defendants. Unfortunately, the Defendants intentional misrepresentation and harmful

concealment of the truth prevented such rehabilitation and caused Abraham Gamberella to suffer

economic loss.

       Adam Hebert called the Defendants’ call center for an update on the status of his claim,

and was told his claim was “still pending.” Adam Hebert made several phone calls to the

Defendants’ call center between June 2015 and March 2019, each response was nearly identical-



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your claim is “still pending.” Adam Hebert relied upon the Defendants’ misrepresentations

concerning the status and disposition of his BP Subsistence Claim; and thus, he believed his claim

was properly submitted by the Defendants and no other action was required.

       In February or March of 2019, Plaintiff Hebert also received an identical form letter from

the Defendants stating that his Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on his behalf. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mr. Hebert that his claim was never

filed, he may have had an opportunity to amend such egregious failures by the Defendants.

Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused Adam Hebert to suffer economic loss.

       Fred Ledet called the Defendants’ call center for an update on the status of his claim, and

was told his claim was “still pending.” Mr. Ledet relied upon the Defendants’ misrepresentations

concerning the status and disposition of his BP Subsistence Claim; and thus, he believed his claim

was properly submitted by the Defendants and no other action was required.

       In February or March of 2019, Plaintiff Ledet also received an identical form letter from

the Defendants stating that his Subsistence Claim had been denied. Unfortunately, the Defendants

failed to file a Subsistence Claim with DHECC on his behalf by the June 8, 2015 deadline. If the

Defendants had not intentionally misrepresented and fraudulently concealed the truth from Mr.

Ledet that his claim was never filed, he may have had an opportunity to amend such egregious

failures by the Defendants. Unfortunately, the Defendants intentional misrepresentation and

harmful concealment of the truth prevented such rehabilitation and caused Fred Ledet to suffer

economic loss.

       Stanwood Moore, Jr. called the Defendants’ call center for an update on the status of his



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claim, and was told his claim was “still pending.” Mr. Moore relied upon the Defendants’

misrepresentations concerning the status and disposition of his BP Subsistence Claim; and thus,

he believed his claim was properly submitted by the Defendants and no other action was required.

       In February or March of 2019, Plaintiff Moore also received an identical form letter from

the Defendants stating that his Subsistence Claim had been denied. In truth and in fact, Moore’s

Subsistence Claim had been denied because the Defendants knowingly failed to include and submit

all of the required documentation to DHECC. Simply put, Defendants failed to timely and properly

file a colorable Subsistence Claim for Moore. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mr. Moore that his claim was filed

incomplete, he would have had an opportunity to amend such egregious failures by the Defendants.

Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused Stanwood Moore, Jr. to suffer economic loss.

       James Scales, III called the Defendants’ call center for an update on the status of his claim,

and was told his claim was “still pending.” Scales made several phone calls to the Defendants’ call

center between June 2015 and March 2019, each response was nearly identical-your claim is “still

pending.” Scales relied upon the Defendants’ misrepresentations concerning the status and

disposition of his BP Subsistence Claim; and thus, he believed his claim was properly submitted

by the Defendants and no other action was required.

       In February or March of 2019, Plaintiff Scales also received an identical form letter from

the Defendants stating that his Subsistence Claim had been denied. In truth and in fact, the

Defendants never filed a Subsistence Claim on his behalf. If the Defendants had not intentionally

misrepresented and fraudulently concealed the truth from Mr. Scales that his claim was never filed,

he may have had an opportunity to amend such egregious failures by the Defendants.



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Unfortunately, the Defendants intentional misrepresentation and harmful concealment of the truth

prevented such rehabilitation and caused James Scales, III to suffer economic loss. A copy of the

denial letter is provided below.3




3
  The remaining proposed Class Representatives also reported receiving the same letter, around the same
time, but they no longer possess copies of the correspondence.

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                                                 34.

       After receiving denial letters from Defendants, numerous Plaintiff Class members executed

“Request for Change in Representation Status,” which, for the first time, allowed them to gain

access to their claim-related information with DHECC.

                                                 35.

       After gaining access to their information, Plaintiff Class members learned that Defendants

had failed to timely and properly file complete and colorable BP Subsistence Claims based on

documentation the BP Settlement Agreement required to be included for a valid, compensable

claim. Plaintiff Class Members also learned that Defendants had concealed the truth from them.

                        CLASS REPRESENTATION ALLEGATIONS

                                                 36.

       This action is appropriate for determination pursuant to federal class action procedure

because there is a well-defined community of interest in the litigation and the proposed Class is

easily ascertainable. Accordingly, Plaintiffs bring this action on their own behalf and on behalf of

a class of Plaintiffs (“Plaintiff Class”) that constitutes the following proposed Class:

       All BP Class members, represented by Defendants’ joint-venture in the BP
       Deepwater Horizon Oil Spill Class Action Settlement Program, who lost the
       opportunity to participate in the BP Settlement Program for their subsistence losses
       because Defendants failed to timely file a complete BP Subsistence Claim on the
       client’s behalf.

Plaintiffs seek to certify causes of action pursuant to legal theories of breach of contract and legal

malpractice. Plaintiffs reserve the right to propose subclasses or to modify the above class

definition, based on evidence adduced in discovery, or as necessary and appropriate. Specifically,

this class is appropriate for certification because the prerequisites of Rule 23(a) and 23(b)(3) have

been satisfied.



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                                                37.

       Numerosity:     Preliminary discovery in this litigation has revealed that Defendants failed

to properly and timely file approximately 2,695 of their clients’ Subsistence Claims, thus these

individuals make up the proposed Plaintiff Class. Defendants’ former field representatives have

confirmed that Defendants signed fee agreements to file Subsistence Claims on behalf of at least

14,500 claimants across the Gulf Coast. Defendants’ representatives further indicated that an

unknown number of these claims were incomplete (i.e. lack all required documentation) when

filed or were filed untimely. Undersigned counsel presently represents approximately one hundred

twenty-three (123) Plaintiffs, including approximately one hundred seventy-five (175) dependents

of these Plaintiffs. Plaintiffs, along with the other 2,572 putative Class members, claim a loss of

opportunity to recover subsistence losses as a result of Defendants’ breaches in the standard of

conduct as well as Defendants’ negligent conduct. Since members of the putative Class are

residents of Louisiana, Mississippi, Alabama, and Florida, they are geographically dispersed

throughout the Gulf Coast, and joinder of all such persons is impractical. Because of the large

number of putative Class members and their being dispersed across four Gulf Coast states, this

action is the most efficient means of handling these claims and the best way to ensure that the

interests of all Plaintiff Class members are preserved.

                                                38.

       Commonality: Common questions of fact and law exist as to all members of the Plaintiff

Class. The Plaintiffs suffered the same injury (i.e. lost the opportunity to be compensated for their

subsistence losses through the BP Settlement Program) because of Defendants’ common course of

conduct – failing to file timely and complete Subsistence Claims that included all documents and



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information required by the BP Settlement Agreement. In order for a Subsistence Claim to be valid

and eligible for recovery, the BP Settlement Agreement required a BP Class member or his counsel

(in this case Defendants) to submit only the following two documents: (1) a complete Subsistence

Claim form or sworn written statement;4 and, (2) a copy of claimant’s fishing license (valid before

and at the start of the loss period).5 Defendants’ failure to submit any one of the required documents

in connection with a Plaintiff’s Subsistence Claim, regardless of whether it was timely filed,

rendered it categorically ineligible. Similarly, Defendants’ failure to file a Plaintiff’s Subsistence

Claim by the June 8, 2015 deadline rendered it categorically ineligible.

        Defendants’ failure to timely provide required documentation in connection with a

particular Plaintiff’s Subsistence Claim represented a course of conduct common to all members

of the proposed Class. As a result, all members of the proposed Class suffered a common injury

– the lost opportunity to be compensated for their Subsistence Claim because their Subsistence

Claims were categorically ineligible for consideration.

        These questions predominate over any questions affecting individual Plaintiff Class

members. These common factual and legal questions include, but are not limited to:


            a) Whether Defendants failed to timely file and provide to DHECC, in connection
               with the Plaintiff Class members’ Subsistence Claims, all documentation the BP
               Settlement Agreement required to be submitted in connection with a valid and
               eligible Subsistence Claim;
            b) Whether Defendants failed to properly pursue BP Claims with the DHECC on
               behalf of Plaintiff Class members;
            c) Whether Defendants concealed from their clients the fact that timely and complete

4
  The Complete Subsistence Claim Form or Sworn Written Statement was required to be signed by the
claimant verifying the location of their fishing and/or hunting grounds (map and narrative identification);
the equipment they used to fish and/or hunt; the number of people in their family unit who relied on natural
resources they caught; the specific species and amounts of natural resources they relied upon; and the
percentage of subsistence resources they relied on pre-Spill that came from areas that were closed or
impaired due to or resulting from the Spill.
5
  See Exhibit 9(C) of the BP Settlement Agreement.

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               BP claims had not been filed with DHECC on behalf of the Plaintiff Class
               members;
           d) Whether Defendants intentionally and knowingly made false and misleading
              representations to the Plaintiff Class members regarding the status of BP
              Subsistence Claims by sending Class members form “denial” letters indicating their
              Subsistence Claims had been “denied”;
           e) Whether Defendants collectively and/or individually owed a duty to the Plaintiff
              Class members;
           f) Whether Defendants breached their respective duties owed to the Plaintiff Class
              members;
           g) Whether Defendants’ actions were the cause of Plaintiff Class members’ inability
              to participate in the BP Settlement Program regarding their Subsistence Claims;
              and
           h) Whether Plaintiff Class members are entitled to monetary damages, attorney’s fees,
              punitive damages, and/or other legal or equitable remedies and, if so, the nature of
              any such relief.

                                               39.

       Typicality: Plaintiffs’ claims are typical and representative of the claims of the entire

Class. All Plaintiff Class members were injured and damaged through Defendants’ consistent

misconduct and breach of their fiduciary duty to all Plaintiff Class members. Defendants failed to

timely file complete and colorable Subsistence Claims with DHECC. Defendants engaged in a

common course of conduct that did not vary from Plaintiff to Plaintiff, ensuring that common

questions of law and fact will predominate over any individualized issues, as proof as to one

constitutes proof as to all. All Plaintiff Class members have suffered the same ascertainable

monetary and economic harm, namely the lost opportunity to participate in the BP Settlement and

to receive compensation for their Subsistence Claims.

                                               40.

       Adequacy: The named Plaintiffs will fairly and adequately protect and the interests of the

Class. The named Plaintiffs are prepared to undertake the representation of the entire proposed


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Class. No named Plaintiff has any interest conflicting with an interest of any putative Class

member. No named Plaintiff has any claim that is antagonistic to, incompatible with, or conflicts

with, any claim of a putative absent Class member. Each named Plaintiff is a putative Class

member. Each named Plaintiff suffered the same harm as every other putative Class member in

that each of them lost his or her opportunity to participate in the BP settlement and to be

compensated for his or her Subsistence Claim. All Class members assert the same causes of action.

       Additionally, the Plaintiffs have retained undersigned counsel who are experienced in

complex class action litigation and who intend to pursue this class action vigorously and

competently. Class counsel has adequate financial resources to assure the interests of the Plaintiff

Class will be adequately protected.

                                                 41.

       Superiority:    Class action adjudication of Plaintiffs’ disputes is superior to other available

methods for the fair and efficient adjudication of the controversy. Considering that the putative

Class is composed of thousands of members, adjudication of each individual Plaintiff Class

member’s claims would cause increased expenses and delays to all parties and to the judicial

system in determining the legal and factual issues common to all claims related to all parties herein.

In the identification of claims for each putative Class member, the claims of the putative Class will

be established by class-wide proof. Damages for each Plaintiff will be determined by formulaic

calculation based on the previously recognized and widely accepted BP Settlement Agreement and

Subsistence Formula. In other words, the common questions of law and fact identified in ¶ 38 will

be established through generalized proof. The questions of law and fact related to the Class are far

more substantial than any individualized issue. The named Plaintiffs seeking to be Class

Representatives have little to no interest in individually controlling their separate actions because



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they allege class adjudication will be more effective and efficient.

       There is no pending litigation outside of this suit for any of the 2,695 proposed Class

members regarding Defendants’ mishandling of BP Subsistence Claims. Certification would act

to centralize these proceedings against the Defendants. Attempting to adjudicate each Class

member’s claim individually would mean adjudication of thousands of nearly identical cases

which could potentially yield inconsistent, varying, or contradictory results. Handling the litigation

as a class action presents far fewer management difficulties and provides the benefit of a single

adjudication on common issues of fact and law, economies of scale, and comprehensive

supervision by a single court.

       There are common issues related to the identical Attorney-Client contract executed by all

Plaintiff Class members (duty), the same failure to file timely and complete Subsistence Claims

on the claimants’ behalf (breach), the same reason for the claimants’ lost opportunities to

participate in the BP settlement for their Subsistence Claims (causation), the same loss of

compensation based on a formulaic calculation (damages). The actions by the Defendants herein

constitute a common course of conduct and adjudicating these matters separately could easily

subject the Defendants to varying standards of care and the Plaintiff Class members to drastically

different recoveries. To the contrary, class adjudication provides consistency, efficiency, and

finality for all parties. This Court is the ideal adjudicator of this matter utilizing class action

procedure – particularly because it is the venue where the original BP Class Action litigation was

adjudicated.

       There are no issues, problems, or concerns with the management of the litigation. Claims

will be easily adjudicated on a class-wide basis due to the striking similarities among the claims

of all members of the proposed Class. Any issues that may arise can be easily overcome by a



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proper and effective trial plan. In sum, class action procedure will streamline this litigation and

lead to a quick and consistent resolution for all parties herein. It will be more efficient and

economical and will enable this Court to manage the litigation more effectively.

                                                42.

       Predominance: The common conduct by Defendants presents predominant issues of law

and fact. Defendants’ responsibility and their liability is predominant over any potential

individualized issue. Though Defendants’ misconduct stretched across the states of Louisiana,

Mississippi, Alabama, and Florida, all of the Plaintiff Class members’ claims arise out of a

common course of conduct by Defendants through their joint venture. Defendants engaged in a

common course of conduct and victimized the entire Plaintiff Class. The duties all arose from the

Defendants’ contractual agreements with the Plaintiffs – all of the contracts are identical. The

breaches all arose from Defendants’ failure to timely file complete and colorable Subsistence

Claims on behalf of the putative Class members – the question of breach is the same for all putative

Class members. The question of whether Defendants’ failure to file a complete and colorable claim

caused damage is identical for each and every member of the putative Class. Likewise, Defendants’

tortious conduct caused the same injury to each putative class member – the lost opportunity be

compensated for his or her subsistence losses through the BP settlement. Individual damages do

not predominate because a formulaic calculation has been provided by the DHECC Subsistence

Loss Formula. Moreover, proof of each putative Class member’s claim will require duplicating

the production of evidence, persons, discovery, documents, witnesses, and experts. No individual

disputes predominate over these common questions.




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                                     CAUSES OF ACTION

                  BREACH OF CONTRACT AND LEGAL MALPRACTICE

                                                43.

       Plaintiffs re-allege and incorporate by reference the allegations contained in all preceding

paragraphs of this Third Amended Class Action Complaint as though set forth fully herein.

                                                44.

       The “Attorney-Client Contract” executed by members of the Plaintiff Class and Defendants

created an attorney-client relationship between the Plaintiff Class member(s) with Defendants

whereby Defendants agreed to represent the interests of the Plaintiff Class member(s) in the BP

Settlement Agreement claims process.

       Because Defendants established a joint venture to jointly prosecute the BP Subsistence

claims, its members are bound by the acts of the other members. Furthermore, each individual who

rendered professional services is personally liable for their own actions as well as the actions of

all employees under their direct supervision and control. Because all named Defendants personally

participated in the joint venture’s Subsistence claim processing and filing, each Defendant is

personally liable for their own conduct, the conduct of all members of the joint venture, and the

conduct of all individuals under the joint venture’s control.

                                                45.

       Defendants agreed to protect and advance the interests of the Plaintiff Class members.

Particularly, without limitation, Defendants agreed to properly prepare and timely file BP

Subsistence Claims with DHECC on behalf of the Plaintiff Class members in order to recover

losses sustained by the Plaintiff Class members as a result of the BP Oil Spill. Accordingly,

Defendants also agreed, and were obligated, to inform the Plaintiff Class members of information



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and documentation necessary to properly prepare and file the respective BP Claims. Moreover,

Defendants were obligated to receive and process the claimant provided information and

documentation in furtherance of the Plaintiff Class members’ BP Subsistence Claims.

                                               46.

       Defendants agreed, and were obligated, to communicate honestly and promptly with

Plaintiff Class members and to advise whether additional information or documentation was

required to properly prepare and timely file their BP Subsistence Claim.

                                               47.

       Defendants were aware of the BP Settlement Program’s deadlines to file BP Claims, as

DHECC promulgated and explicitly referenced the June 8, 2015 deadline in numerous

advertisements and public announcements during May and June of 2015. Defendants publicly

shared these deadlines on their various social media accounts.

                                               48.

       Losses sustained by Plaintiff Class members were the direct and proximate result of

Defendants’ breaches of obligations created by the attorney-client contract that existed between

Defendants and Plaintiff Class members. Defendants’ specific contractual breaches include, but

are not limited to:

           a)     Failing to timely file complete claims with the DHECC on behalf of the Plaintiff
                  Class members;

           b)     Failing to properly handle and pursue claims with the DHECC on behalf of
                  Plaintiff Class members;

           c)     Failing to adequately communicate or assist Plaintiff Class members in
                  connection with their BP Subsistence Claims; and

           d)     Other acts of fault and breaches of obligation which will be shown more fully at
                  trial.



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                                                 49.

       As a direct and proximate result of Defendants’ acts and/or omissions set forth above,

Plaintiff Class members have suffered economic losses. Defendants are jointly and solidarily liable

to the Plaintiff Class members for damages resulting from Defendants’ contractual breaches and

malpractice.

                                                 50.

       The express terms of the “Attorney-Client Contract” executed by Plaintiff Class members

and Defendants provide that the “Contract shall be construed under and in accordance with the

laws of the State of Mississippi, and all obligations of the parties created hereunder are performable

in Mississippi.” Accordingly, Mississippi substantive law may apply, and the Plaintiff Class would

be entitled to punitive damages because Defendants’ failed to properly and timely file complete

BP Subsistence Claims on behalf of the Plaintiff Class members. Defendants’ failures constitute

flagrant and gross negligence. Further, Defendants were well-aware of the BP Claim filing

deadline, and their inactions constituted a wanton and reckless disregard of the economic well-

being of the Plaintiff Class members. Soliciting and engaging new clients up until just hours before

the filing deadline, when even their own field workers advised against it, and then failing to file

timely and complete claims on behalf of Plaintiff Class members was and is the essence of callous

and reckless disregard for their own clients.

                                                 51.

       As a result of Defendants’ breaches of contract and failure to conform to the applicable

professional standards of care and conduct, Plaintiff Class members are entitled to compensatory

damages in an amount to be determined at trial but at least in an amount in excess of $5,000,000.00,

plus punitive damages, and attorney fees.



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                                             FRAUD

                                                52.

       Plaintiffs re-allege and incorporate by reference the allegations contained in all preceding

paragraphs of this Third Amended Class Action Complaint as though set forth fully herein.

                                                53.

       During the claims intake process, Defendants were advised by their own on-site field

representatives that the intake facilities should close and stop accepting new clients to allow

Defendants’ personnel an opportunity to process, complete, and file all Subsistence Claims by the

June 8, 2015 deadline. Nevertheless, despite these warnings, Defendants kept their facilities open

until late in the evening on June 8, 2015 continuing to solicit and accept representation for new

Subsistence Claimants. In fact, Gregory Rueb – on behalf of the joint venture – instructed the field

agents to keep the facilities open and to expect an additional 3,000 claimants to sign-up during the

final three (3) days prior to the deadline. Further, Defendants directed the joint venture’s field

agents to inform clients that their claims would be submitted on a timely basis even though the

Defendants knew this was not reasonable.

                                                54.

       Defendants understood their opportunity to generate revenue was directly aligned with the

total number of claimants they could sign up prior to the June 8, 2015 filing deadline. Their

assembly-line process, to solicit and engage as many clients as possible by misrepresenting to the

claimants that their claims would be properly and timely filed by the deadline, was clearly intended

to provide an economic benefit to the Defendants and a concomitant detriment to their clients.

                                                55.

       Upon completion of the intake packets at the meeting facilities, numerous Plaintiff Class



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members were concerned their claims would not be filed timely due to the large number of people

in attendance at the meeting facilities. Throughout this period of time, but particularly in the last

several days before the deadline, numerous claimants questioned Defendants’ field representatives

about their concerns regarding sufficient time to file. Numerous Class members specifically asked

the field representatives – who were the only joint venture workers available to question - about

the ability of the Defendants to process all of the claims. Pursuant to Defendants’ direction, the

field agents – all non-lawyers and contract workers hired by the joint venture – explicitly promised

and assured the claimants that their packets were complete and their claims would be timely filed.

These were the very same field agents who knew, and who advised the Defendant lawyers, that

the magnitude of claims was overwhelming and they were incapable of completing and filing all

of them. Unfortunately, the claimants relied upon these knowingly false, fraudulent promises and

assurances which was ultimately to their detriment. If the claimants had been properly advised,

they could have consulted with other lawyers who were properly handling Subsistence Claims.

                                                 56.

       Defendants’ verbal misrepresentations were made with knowledge of their falsity, and with

the intention that Plaintiff Class members would rely on these false and misleading promises.

                                                 57.

       Defendants set up a call center for soliciting new clients prior to the June 8, 2015 deadline.

Additionally, this call center was used by Defendants to assist the joint venture’s clients throughout

the BP claims process. Defendants provided one phone number for the joint venture call center.

Defendants publicly shared the call center information on their websites, social media accounts,

and the number was provided at each joint venture meeting location in Louisiana, Mississippi,

Alabama and Florida. A copy of the publicized call center information is provided below.



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In fact, Nations Law Firm’s website continues to provide the following information regarding the

joint venture’s call center: “If you are a BP Subsistence client (fishing/hunting), please call 800-

588-2600”.

                                                 58.

        Rueb & Motta initially managed the call center for the joint venture at their offices in

California. Motta was personally assigned the responsibility for managing the call center to solicit

clients and to respond to clients’ inquiries. As client demand increased, all Defendants, including

Howard Nations, Cindy Nations, and Shantrell Nicks, eventually participated in managing the

activities of the call center.

                                                 59.

        Defendants were in constant communication with each other during the start-up and

processing period of the joint venture. Their communications included discussions of the number

of joint venture clients, claims submitted, and claims status. Each Defendant had full knowledge,

in July 2015, that thousands of joint venture claims had not been properly and/or timely filed. With

that knowledge, it is obvious the joint venture partners directed their call center representatives to

intentionally misinform clients that their subsistence claims were “still pending.” These daily,

weekly, monthly, and yearly deceitful misrepresentations continued culminating in one final act

of misrepresentation and fraudulent conduct - the 2019 “denial” letters placing blame on BP rather

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than acknowledging their own breach in the standard of conduct.

                                                    60.

        Regarding specific fraudulent conduct related to the proposed Class representatives,

Plaintiffs also identify ¶ 33 of this Third Amended Complaint.

                                                    61.

        In addition to other fraudulent conduct, Defendants intentionally misrepresented and

fraudulently concealed from their clients that their respective Subsistence Claims had either not

been filed by the deadline or lacked documentation required by the BP Settlement Agreement in

order to be compensated for their losses (despite such documentation being readily available to

Defendants through the DHECC portal).

                                                    62.

        Howard Nations and Cindy Nations personally participated in the drafting of the

Defendants’ “denial” letters. Defendants mailed Plaintiff Class members form letters that falsely

stated that BP had denied their claims.6 For those claimants for whom a claim was never filed,

DHECC did not deny their claim. Because Defendants failed to file their Subsistence Claim,

despite having accepted the clients’ legal representation, the claims were never considered by

DHECC. These letters were mailed to Plaintiff Class members after final approval of all members

of the joint venture.

                                                    63.

        For Claimants in other categories, either those that were untimely filed or those for whom

timely follow-up was neglected, the written misrepresentations made by Defendants were made

with knowledge of their falsity, and with the intent that Plaintiff Class members would rely on


6
 DHECC accepted, reviewed, approved and denied claims made in the BP Settlement Program. British Petroleum
had no part in the analysis of claims.

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these false and misleading statements.

                                                64.

       Through their letters, Defendants implied that the fault for denial was due to BP’s

procedures rather than an admission that the fault for denial was the result of the Defendants’

inactions and neglect. Defendants knew the representations in the “denial” letters were false and

misleading.

                                                65.

       At the time Defendants made these intentional misrepresentations and material

concealments, the Plaintiff Class members were unaware of the falsity of the Defendants’

misrepresentations and reasonably believed them to be true. For years, the Plaintiff Class members

relied upon Defendants’ misrepresentations concerning the status and disposition of their BP

Subsistence Claims.

                                                66.

       Defendants intentionally and harmfully concealed their flagrant and gross breaches in the

standard of conduct for nearly four (4) years. Similar to the named Plaintiffs, any time a Plaintiff

Class member called to check on the status of their claim prior to receiving their form “denial”

letter, they were told the same misrepresentation with little to no variation – “Your claim is still

pending.”

                                                67.

       As a direct and proximate result of Defendants’ deceptive tactics, actual fraud, intentional

misrepresentations, and concealment of material information, the Plaintiff Class members lost the

opportunity to be compensated for their economic losses. Thus, Defendants are solidarily liable to

the Plaintiff Class members for damages resulting from their intentional misrepresentation of



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material facts and for actual fraud.

                                                68.

        As a result of Defendants’ fraudulent acts and omissions, intentional misrepresentations of

material fact, and their failure to conform to the applicable professional standards of conduct, the

Plaintiff Class members are entitled to compensatory damages in an amount to be determined at

trial but at least in an amount in excess of $5,000,000.00, plus punitive damages, and attorneys’

fees.

                                                69.

        Plaintiffs, on behalf of themselves and all other similarly situated persons, demand

judgment against Defendants for monetary damages and/or other remedies.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray for judgment as follows:

        a)     An order certifying the proposed Class, designating Plaintiffs as the named

               representatives of the Class, and designating the undersigned class counsel;

        b)     Awarding actual, compensatory, consequential, and punitive damages;

        c)     Awarding restitution;

        d)     Awarding damages for fraudulent conduct;

        e)     Awarding reasonable attorneys’ fees, and costs of this case;

        f)     Awarding prejudgment and post-judgment interest;

        g)     Granting such further relief that this Court deems appropriate under the

               circumstances.




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                                  DEMAND FOR JURY TRIAL

       Plaintiffs request and are entitled to a trial by jury on all issues so triable.

Dated: October 30, 2020

                                                RESPECTFULLY SUBMITTED:


                                                /s/ Jerald P. Block
                                                BLOCK LAW FIRM, APLC
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                                                Counsel for Plaintiffs and Plaintiff Class Members



                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 30, 2020 a copy of the foregoing has been electronically

filed by using the CM/ECF system, which will send a copy of the foregoing pleading to all counsel

of record by notice of electronic filing.


                                                        /s/ Jerald P. Block
                                                        JERALD P. BLOCK




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